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|N THE UN|TED STATES D|STRCT COURT
FOR THE WESTERN D|STR|CT OF TEXAS
SAN ANTON|O D|V|SlON

ANGELA ELlZABETH SAW¥ER, |ndividua|ly as
Surviving Spouse of TERRY LEE SAW¥ER,

as Heir of TERRY LEE SAWYER, as
Representative of the Heirs of TERRY LEE
SAWYER, and as Representative of the Estate
of TERRY LEE SAWYER, Deceased; and
CARTER LEE SAWYER, DlLLON LEE SAWYER
and MEAGAN ELlZABETH SAWYER, |ndividua|ly
as Surviving Adu|t Chi|dren of

TERRY LEE SAWYER, Deceased

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V' civlL No.§`, |Y~C\f~ \\Ol

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UN|TED PARCEL SERV|CE, |NC.
DEFENDANT, UN|TED PARCEL SERV|CE, lNC.’S NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF THE UN|TED STATES D|STR|CT COURT FOR THE
WESTERN D|STR|CT OF TEXAS:

Pursuant to 28 U.S.C. §§ 1332 and 1441(a), Defendant, UN|TED PARCEL
SERV|CE, |NC., hereby removes this action to the United States District Court for the
Western District of Texas from the 438th Judicia| District Court of Bexar County, Texas,
stating as follows:

1. P|aintiffs, ANGELA ELlZABETH SAWYER, |ndividua|ly as Surviving Spouse
of TERRY LEE SAWYER, as Heir of TERRY LEE SAWYER, as Representative of
the Heirs of TERRY LEE SAWYER, and as Representative of the Estate of TERRY
LEE SAWYER, Deceased; and CARTER LEE SAWYER, D|LLON LEE SAWYER
and MEAGAN ELlZABETH SAWYER, |ndividua|ly as Surviving Adu|t Chi|dren of
TERRY LEE SAWYER, Deceased, commended this action in the 438th Judicia| District
Court of Bexar County, Texas, Where it Was given Cause No. 2017-Ci-20184. This

action is between citizens of different states P|aintiffs are residents of Texas.

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Defendant, United Parcel Services, |nc. is a De|aware Corporation. Further, Plaintiff
claims damages for serious personal injury and is seeking damages of $1,000,000.
Accordingly, this Court has original jurisdiction under 28 U.S.C. § 1332

2. Defendant, United Parce| Services, |nc. received Plaintiff’s Application for
Temporary Restraining Order Without Notice and Temporary lnjunction on October 26,

2017, so this removal is timely under 28 U.S.C. § 1446(b).

3. A copy of all process, pleadings, and orders served upon Defendant is attached
as Exhibit A.
4. Defendant has provided Written notice of this Notice of Remova| to all adverse

parties and has filed a copy with the C|erk of the 438th Judicial District Court of Bexar
County, Texas.

5. Defendant United Parcel Services, lnc., consent to the removal.

Dated: October 30, 2017

Respectfu|| submitted,

LAR D. vaRREN

st ear No. 20888450

A oRNEYs FoR DEFENDANT
uNiTED PARCEL sEvacE, rNc.

 

OF COUNSEL:

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CERT|F|CATE OF SERV|CE

l hereby certify that on the 30th day of October 2017, the foregoing Was filed With
the C|erk of Court using the ClVl/ECF system, and Was served on counsel via facsimile:

Jorge A. Herrera

State Bar. No. 24044242

Laura E_ Gutierrez Tamez
State Bar No. 00793869

Javier L. Herrera

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